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JS 44 (Rev. 3/13)                                                           CIVIL COVER
                                                                             Document   SHEET
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The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                            DEFENDANTS
    In re Kevin Larson

    (b) County of Residence of First Listed Plaintiff                                                        County of Residence of First Listed Defendant
                                     (EXCEPT IN U.S. PLAINTIFF CASES)                                                                      (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                             NOTE:                       IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                 Attorneys (If Known)

    Catherine Steege, John VanDeventer, Jenner & Block LLP,
    353 N. Clark Street, Chicago, IL 60654, (312) 222-9350

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                        (For Diversity Cases Only)                                         and One Box for Defendant)
 1    U.S. Government                  ✔ 3 Federal Question
                                                                                                                                PTF           DEF                                        PTF      DEF
         Plaintiff                            (U.S. Government Not a Party)                        Citizen of This State          1            1    Incorporated or Principal Place       4      4
                                                                                                                                                        of Business In This State
 2    U.S. Government                   4 Diversity                                              Citizen of Another State           2         2   Incorporated and Principal Place       5       5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                               of Business In Another State
                                                                                                   Citizen or Subject of a            3         3   Foreign Nation                         6       6
                                                                                                     Foreign Country
IV. NATURE OF SUIT                       (Place an “X” in One Box Only)
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                        BANKRUPTCY                      OTHER STATUTES
   110 Insurance                        PERSONAL INJURY                 PERSONAL INJURY            625 Drug Related Seizure             422 Appeal 28 USC 158              375 False Claims Act
   120 Marine                           310 Airplane                  365 Personal Injury -           of Property 21 USC 881           423 Withdrawal                     400 State Reapportionment
   130 Miller Act                       315 Airplane Product               Product Liability      690 Other                                 28 USC 157                     410 Antitrust
   140 Negotiable Instrument                  Liability                367 Health Care/                                                                                     430 Banks and Banking
   150 Recovery of Overpayment          320 Assault, Libel &               Pharmaceutical                                                PROPERTY RIGHTS                    450 Commerce
        & Enforcement of Judgment              Slander                       Personal Injury                                              820 Copyrights                     460 Deportation
   151 Medicare Act                     330 Federal Employers’             Product Liability                                            830 Patent                         470 Racketeer Influenced and
   152 Recovery of Defaulted                  Liability                368 Asbestos Personal                                            840 Trademark                           Corrupt Organizations
        Student Loans                    340 Marine                         Injury Product                                                                                   480 Consumer Credit
        (Excludes Veterans)              345 Marine Product                 Liability                          LABOR                         SOCIAL SECURITY                 490 Cable/Sat TV
   153 Recovery of                            Liability                PERSONAL PROPERTY             710 Fair Labor Standards              861 HIA (1395ff)                850 Securities/Commodities/
        of Veteran’s Benefits            350 Motor Vehicle             370 Other Fraud                    Act                              862 Black Lung (923)                 Exchange
   160 Stockholders’ Suits              355 Motor Vehicle             371 Truth in Lending         720 Labor/Management                  863 DIWC/DIWW (405(g))          890 Other Statutory Actions
   190 Other Contract                        Product Liability         380 Other Personal                 Relations                        864 SSID Title XVI              891 Agricultural Acts
   195 Contract Product Liability       360 Other Personal                 Property Damage          740 Railway Labor Act                 865 RSI (405(g))                893 Environmental Matters
   196 Franchise                             Injury                    385 Property Damage          751 Family and Medical                                                 895 Freedom of Information
                                         362 Personal Injury -              Product Liability              Leave Act                                                              Act
                                              Medical Malpractice                                     790 Other Labor Litigation                                             896 Arbitration
        REAL PROPERTY                       CIVIL RIGHTS               PRISONER PETITIONS             791 Employee Retirement             FEDERAL TAX SUITS                  899 Administrative Procedure
   210 Land Condemnation                440 Other Civil Rights        510 Motions to Vacate             Income Security Act            870 Taxes (U.S. Plaintiff               Act/Review or Appeal of
   220 Foreclosure                      441 Voting                         Sentence                                                           or Defendant)                      Agency Decision
   230 Rent Lease & Ejectment           442 Employment                 Habeas Corpus:                                                   871 IRS—Third Party                950 Constitutionality of
   240 Torts to Land                    443 Housing/                  530 General                                                            26 USC 7609                        State Statutes
   245 Tort Product Liability                Accommodations            535 Death Penalty
   290 All Other Real Property          445 Amer. w/Disabilities      540 Mandamus & Other            IMMIGRATION
                                              Employment                550 Civil Rights           462 Naturalization Application
                                         446 Amer. w/Disabilities      555 Prison Condition       463 Habeas Corpus -
                                              Other                     560 Civil Detainee -            Alien Detainee
                                         448 Education                      Conditions of               (Prisoner Petition)
                                                                             Confinement            465 Other Immigration
                                                                                                         Actions
V. ORIGIN (Place an “X” in One Box Only)

✔ 1 Original              2 Removed from                   3   Remanded from                4   Reinstated or             5   Transferred from        6   Multidistrict
    Proceeding               State Court                         Appellate Court                   Reopened                       Another District             Litigation
                                                                                                                                  (specify)

VI. CAUSE OF ACTION (Enter U.S. Civil Statute under which you are filing and                       VII. Previous Bankruptcy Matters (For nature of suit 422 and 423, enter the case
                                                                                                   number and judge for any associated bankruptcy matter previously adjudicated by a judge of this Court.
write a brief statement of cause.)
                                                                                                   Use a separate attachment if necessary.
28 U.S.C. 157(d) - withdrawal of bankruptcy reference 11-cv-4714 (Judge Pallmeyer), but needs to be assigned a new number.
VIII. REQUESTED IN  CHECK IF THIS IS A CLASS ACTION                               DEMAND $                                 CHECK YES only if demanded in complaint:
     COMPLAINT:                   UNDER       RULE    23, F.R.Cv.P.                                                         JURY DEMAND:                 Yes       No

IX. RELATED CASE(S)
      IF ANY                    (See instructions):
                                                          JUDGE          Pallmeyer                                   DOCKET NUMBER 11-cv-4714, but needs to be assigned a new number.
X. This case (check one box) 
                             ✔ Is not a refiling of a previously dismissed action   is a refiling of case number ____________ previously dismissed by Judge ________________

DATE                                                                   SIGNATURE OF ATTORNEY OF RECORD
         September 11, 2020                                                                                            Catherine L. Steege
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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

In re:                                               )      Chapter 7
                                                     )
KEVIN LARSON                                         )      Case No. 19-30576
                                                     )
         Debtor.                                     )      Judge Deborah L. Thorne

                   TRUSTEE’S MOTION TO WITHDRAW THE REFERENCE

         Catherine Steege, not individually but solely as chapter 7 trustee (the “Larson Trustee”)

for the chapter 7 bankruptcy estate of Kevin Larson (the “Debtor”) moves this Court pursuant to

28 U.S.C. §157(d) to withdraw the reference solely to allow the District Court to rule upon the

Larson Trustee’s Motion For Authorization To Sign Mutual Release (Bankr. Dkt. No. 44, the

“Settlement Motion”), and states:

                                           INTRODUCTION

         1.     The Larson Trustee respectfully requests that the District Court withdraw the

reference to the Bankruptcy Court of the Debtor’s chapter 7 case for the limited purpose of

allowing the District Court to decide the Settlement Motion. The Settlement Motion seeks

authorization for the Larson Trustee to execute a Mutual Release, which is a critical part of a

larger settlement agreement (the “Brian Flynn Settlement”) between Frances Gecker, not

individually but as trustee of the bankruptcy estate of Emerald Casino, Inc. (the “Emerald

Trustee”) and the Brian J. Flynn June, 1992 Non-Exempt Trust (the “Brian Flynn Trust”). That

larger Brian Flynn Settlement also is pending before the District Court. Because the Brian Flynn

Settlement—and indeed all of the supplemental proceedings to collect on the Emerald Trustee’s

judgment have been pending before Chief Judge Rebecca Pallmeyer in the District Court since

May 2016, the Trustee submits that considerations of judicial economy and conservation of

resources strongly support withdrawing the reference so that the same Court which has overseen
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the supplemental proceedings in District Court Case No. 11-cv-4714 may rule upon the

reasonableness of this Settlement Motion.

                                        BACKGROUND

           2.   On June 13, 2002, certain creditors filed an involuntary bankruptcy petition

against Emerald seeking to have Emerald found to be a debtor in a case under chapter 7 of title

11 of the United States Code.

           3.   On September 10, 2002, Emerald consented to the involuntary bankruptcy

petition and converted the involuntary chapter 7 petition to a chapter 11 case, which bankruptcy

case has been and remains pending in the United States Bankruptcy Court for the Northern

District of Illinois as Case No. 02 B 22977 (the “Bankruptcy Case”).

           4.   On or about February 28, 2006, Donald F. Flynn and Kevin F. Flynn entered into

certain indemnity agreements with Kevin Larson, Joseph McQuaid, and John P. McMahon (the

"2006 Indemnity Agreements") related to the lawsuit brought by certain creditors of Emerald

captioned Estate of Walter Payton v. Flynn, pending in the United States District Court as Case

No. 06 C 0465 or any successor court to which the case may be transferred (the "Payton

Claims").

           5.   On March 19, 2008, the Bankruptcy Court converted the Bankruptcy Case to one

under chapter 7 of title 11 of the United States Code.

           6.   On March 21, 2008, the United States Trustee appointed the Emerald Trustee as

the interim chapter 7 trustee and the Emerald Trustee subsequently became the permanent case

trustee.

           7.   On November 25, 2008, the Emerald Trustee acquired the Payton Claims

pursuant to an agreement approved by the Bankruptcy Court.




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       8.      On December 1, 2008, the Emerald Trustee removed the Payton Claims to the

Bankruptcy Court and amended the Payton Claims to include certain additional claims of the

Emerald Estate against Donald F. Flynn, Kevin F. Flynn, Joseph F. McQuaid, Kevin Larson,

Walter P. Hanley, and John P. McMahon (the “Flynn Defendants”) and Peer Pedersen, which

suit was docketed as Adversary Proceeding Case No. 08 A 00972.

       9.      On January 31, 2012, the United States District Court for the Northern District of

Illinois withdrew the reference of Adversary Proceeding Case No. 08 A 00972 and docketed the

adversary proceeding in the District Court as Civil Case No. 11 cv 4714 (the “Lawsuit”).

       10.     On September 30, 2014, the District Court entered a Memorandum Opinion and

Order ruling for the Emerald Trustee on her breach of contract claim against all of the

Defendants except Peer Pedersen. On January 12, 2016, the District Court entered a judgment in

favor of the Emerald Trustee and against each of the non-settling Defendants in the amount of

$45,333,333.33.

       11.     On August 11, 2017, the United States Court of Appeals for the Seventh Circuit

affirmed in part and reversed in part the District Court’s January 12, 2016 judgment. On October

17, 2017, the District Court entered a joint and several judgment against the Defendants (except

the Estate of Donald Flynn and Walter Hanley, both of whom had previously settled with the

Emerald Trustee) in the amount of $219,666,666.66 (the “Judgment”).

       12.     In May, 2016, the Emerald Trustee initiated supplementary proceedings to collect

her Judgment. Since then, the Emerald Trustee has collected some amounts on her judgment

from two of the other defendants, but, as of the Debtor’s petition date, $174,801,136.09 in

principal and interest remained outstanding.




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       13.     On October 28, 2019, Kevin Larson filed his chapter 7 petition. (Bankr. Dkt. 1.)

At the first meeting of creditors on December 13, 2019, the Debtor’s creditors elected the Larson

Trustee, which election was confirmed by the Court on December 19, 2019. (Bankr. Dkts. 9,

16.)

       14.     By far, the largest claim against the Debtor is a claim for approximately $175

million held by the Emerald Trustee on account of the Judgment in the Emerald Lawsuit.

       15.     On November 25, 2019, the Emerald Trustee filed a proof of claim in the amount

of $174,801,136.09 based on her Judgment against the Debtor. (Claim No. 1-1.)

       16.     The Debtor lists on his amended Schedules A/B an “[i]ndemnification agreement

to pay attorneys’ fees and liability re: Gecker v. Flynn, value per appx. current outstanding

judgment balance,” with an approximate value of $177 million. (Dkt. 37 at 5.) Based on her

investigation, including a June 26, 2020 examination of the Debtor, the Larson Trustee

determined that the Debtor is party to an agreement under which Donald Flynn, the Kevin F.

Flynn June, 1992 Non-Exempt Trust, and the Brian J. Flynn June, 1992 Non-Exempt Trust (the

“Brian Flynn Trust” and, collectively with the other non-Debtor parties, the “Flynn Parties”)

are obligated to indemnify the Debtor for his share of the Judgment (the “Indemnification

Agreement”).

       17.     In addition to pursuing her claim against the Debtor, the Emerald Trustee has

been pursuing collection of the Emerald Judgment directly against the Brian Flynn Trust based

on the Brian Flynn Trust’s agreement to share all costs related to Emerald with the other Flynn

Parties, including any judgments or settlements related to Emerald. To that end, the Emerald

Trustee engaged in mediation with representatives for the Brian Flynn Trust.




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         18.   The parties reached an agreement and, on September 8, 2020, the Emerald

Trustee executed the Brian Flynn Settlement. Under the Brian Flynn Settlement, the Brian Flynn

Trust will pay the Emerald Trustee $10.75 million in exchange for broad releases of the Flynn

Parties and other related entities. The Emerald Trustee has also filed a motion to the Brian Flynn

Settlement and a motion to withdraw the reference.

         19.   Representatives for the Brian Flynn Trust made clear during negotiations that any

settlement was contingent on the Flynn Parties obtaining releases from several parties, including

the Larson Trustee in this case.

         20.   Accordingly, the Settlement Motion seeks authorization for the Larson Trustee to

sign the Mutual Release. Under the Mutual Release, the Trustee provides and receives broad

releases to and from Brian J. Flynn, the Brian Flynn Trust, Robert Flynn (individually and as

trustee of the Brian Flynn Trust), and all predecessor and successor trustees and other fiduciaries

of the Brian Flynn Trust (the “Brian Flynn Entities”).

         21.   In the interests of judicial economy and conservation of resources, the Larson

Trustee hereby seeks a limited withdrawal of the reference so that the District Court can hear and

decide the Settlement Motion in the context of the larger Brian Flynn Settlement also before the

Court.

                                           ARGUMENT

         22.   Although district courts have original jurisdiction over all bankruptcy cases (see

28 U.S.C. § 1334(a)), in this District, the district courts have automatically referred all such cases

to the bankruptcy court pursuant to 28 U.S.C. § 157(a) and Northern District Local Rule 40.3.1.

Section 157(d), however, provides that “[t]he district court may withdraw, in whole or in part,

any case or proceeding referred under this section, on its own motion or on timely motion of any




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party, for cause shown.” 28 U.S.C. § 157(d); see also Fed. R. Bankr. P. 5011 (“A motion for

withdrawal of a case or proceeding shall be heard by a district judge.”).

       23.     This Court has “broad discretion in determining whether to withdraw a reference

based on cause.” Grochocinski v. LaSalle Bank Nat’l Assoc., 382 B.R. 443, 446 (N.D. Ill. 2007).

The statute does not define “cause” but courts have considered “a number of factors, including

whether the claim or proceeding is core or non-core, considerations of judicial economy,

convenience, the particular court’s knowledge of the facts, promoting the uniformity and

efficiency of bankruptcy administration, reduction of forum shopping and confusion,

conservation of debtor and creditor resources, and whether the parties requested a jury trial.” Id.

       24.     Considerations of judicial economy justify the withdrawal of the reference with

respect to the Settlement Motion.      This Court has already withdrawn the reference to the

Bankruptcy Court of the adversary proceeding, Case No. 11-cv-4714, and has been overseeing

the Emerald Trustee’s extensive supplemental proceedings to collect on her judgment since May,

2016. In order to enter into the Mutual Release, however, approval is required pursuant to Rule

9019 of the Federal Rules of Bankruptcy Procedure. FED. R. BANKR. P. 9019. Because the

dispute being settled by the Settlement Motion relates directly to the case pending before this

Court in Case No. 11-cv-4714, considerations of judicial economy and conservation of resources

strongly support withdrawing the reference so that this Court may rule upon the appropriateness

of the settlement of those very claims as requested by the Settlement Motion.




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                                       CONCLUSION

       For all of the foregoing reasons, the Larson Trustee respectfully requests that this Court

enter an order withdrawing the reference of the Debtor’s chapter 7 bankruptcy case for the

limited purpose of deciding the Settlement Motion, and granting any other relief the Court deems

just or proper.

                                            Respectfully submitted,

                                            CATHERINE STEEGE, not individually but as
                                            Trustee for Kevin Larson

                                            BY:            /s/ Catherine Steege
                                                           One of Her Attorneys
Dated: September 11, 2020

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